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   Curtis Smolar SBN 194700
 1 General Counsel
   Legalist Inc.
 2 10120 W Flamingo Rd Ste 4 #3015
   Las Vegas, NV 89147
 3 Telephone: (415) 429-8168
 4
                                 UNITED STATES DISTRICT COURT
 5
                                NORTHERN DISTRICT OF CALIFORNIA
 6
     CHARLES RIDGEWAY, et al.,                          Case No. 3:08-cv-05221-SI
 7
                  Plaintiffs,                           LEGALIST, INC.’S NOTICE OF
 8                                                      JUDGMENT LIEN ON FUNDS OWED
           vs.                                          TO RUSSELL MYRICK AND RDM
 9                                                      LEGAL GROUP
     WALMART STORES, INC., et al.,
10
                  Defendants.
11

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13         NOTICE IS HEREBY GIVEN that Legalist, Inc. (“Legalist”), as party to a Litigation
14 Funding Agreement with RUSSELL MYRICK and RDM LEGAL GROUP (the “Agreement”)
15 (Exhibit A), has a valid, first-priority lien against RUSSELL MYRICK and RDM LEGAL
16 GROUP in the amount of 588,256.85, pursuant to the Agreement.
17         Legalist’s lien attaches to attorneys’ fees owed to RUSSELL MYRICK and RDM LEGAL
18 GROUP. A copy of Legalist’s current UCC-1 financing statement reflecting this lien is attached
19 hereto as Exhibit A.

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                                       LEGALIST, INC.’S NOTICE OF LIEN
                                          CASE NO. 3:08-cv-05221-SI
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 1         Legalist demands that its lien against RUSSELL MYRICK and RDM LEGAL GROUP be
 2 satisfied from attorneys’ fees owed to RUSSELL MYRICK and RDM LEGAL GROUP in
 3 connection with this matter.
 4
 5
     Dated: July 30, 2019                      Respectfully submitted,
 6
 7                                             /s/ Curtis Smolar
                                               Curtis Smolar SBN 194700
 8                                             General Counsel
                                               Legalist, Inc.
 9                                             10120 W. Flamingo Rd
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                                  LEGALIST, INC.’S NOTICE OF LIEN
                                      CASE NO. 3:08-cv-05221-SI
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